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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


PAULA REYNOLDS,
                                                       CIVIL COMPLAINT
           Plaintiff,

v.                                                     CASE NO. 1:18-cv-05593

HALSTED FINANCIAL SERVICES LLC,
                                                       DEMAND FOR JURY TRIAL
           Defendant.


                                         COMPLAINT

        NOW COMES Paula Reynolds (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of Halsted Financial Services,

LLC (“Defendant”), as follows:

                                    NATURE OF THE ACTION

     1. Plaintiff brings this action seeking redress from Defendant’s violations of the Fair Debt

Collection Practices Act (“FDCPA”) under 15 U.S.C. §1692 and for violations of the Telephone

Consumer Protection Act (“TCPA”) under 47 U.S.C. §227, for Defendant’s unlawful conduct.

                                   JURISDICTION AND VENUE

     2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject

matter jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C.

§§1331 and 1337, as the action arises under the laws of the United States.

     3. Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. §1391 as

Defendant engages in substantial business activity in this District, and a substantial part of the

events or omissions giving rise to the claims occurred within this District, 28 U.S.C. § 1391(b).




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                                              PARTIES

    4. Plaintiff is a natural person residing in the Northern District of Illinois.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

    6. Defendant is an Illinois corporation with is principal office located at 8001 North Lincoln

Avenue, Suite 500, Skokie, Illinois 60077. Defendant is a third-party debt collector whose

primary business is collecting consumer debts for others, including a debt allegedly owed by

Plaintiff.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

    9. On or around April 2018, Plaintiff began receiving collection calls to her cellular phone

from Defendant in regards to an alleged defaulted Credit One Bank credit card account (“subject

debt”).

    10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 2510. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

    11. Plaintiff has never had any business relationship with Defendant nor has she ever

provided Defendant consent to call her cellular phone.

    12. Upon speaking with Defendant, Plaintiff was informed that Defendant is acting as a debt

collector attempting to collect upon the subject debt.




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    13. Frustrated by Defendant’s calls, Plaintiff demanded that Defendant cease contacting her

on her cellular phone.

    14. Despite Plaintiff’s demand that the calls cease, Plaintiff has still received constant phone

calls from Defendant up until the filing of this complaint.

    15. Defendant has called Plaintiff’s cellular phone multiple times during the same day, even

after being told to stop in April 2018.

    16. Plaintiff has received no less than 34 phone calls from Defendant since asking it to stop

calling.

    17. During the phone calls Plaintiff answered, Plaintiff was greeted by a noticeable period of

“dead air” while Defendant’s telephone system attempted to connect Plaintiff to a live agent.

    18. Specifically, there would be an approximate 3 second pause between the time Plaintiff

said “hello,” and the time that a live agent introduced them self as a representative of Defendant

attempting to collect on the subject debt.

    19. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

using an automated telephone dialing system, a system that is commonly used in the finance

industry to collect defaulted accounts.

   20. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights.

                                                DAMAGES

    21. Defendant’s calls to Plaintiff’s cellular phone have disrupted her everyday life and

 general well-being.

    22. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 limited to, invasion of privacy, aggravation that accompanies unwanted collection telephone

 calls, emotional distress, increased risk of personal injury resulting from the distraction caused



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 by the constant calls, increased usage of her telephone services, loss of cellular phone capacity,

 diminished cellular phone functionality, decreased battery life on her cellular phone, and

 diminished space for data storage on her cellular phone.

            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   23. Plaintiff repeats and realleges paragraphs 1 through 22 as though full set forth herein.

   24. The Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   25. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a

transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

   26. Defendant is a “debt collector” as defined by §1692a(6) because its primary business is to

collects debts and uses the mail and/or the telephones to collect delinquent accounts allegedly

owed to a third party.

   27. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was allegedly in default. 15 U.S.C. §1692a(6).

   28. Defendant used the telephone to attempt to collect the subject debt from Plaintiff

personally and, as such, engaged in “communications” as defined in FDCPA §1692a(2).

   29. Defendant violated 15 U.S.C. §§1692c(a)(1)(2), d, and d(5), through its debt collection

efforts on the subject debt.

       a. Violations of FDCPA § 1692c

   30. Defendant violated §1692c(a)(1) when it continuously called Plaintiff without her prior

consent and after being notified to stop on multiple occasions. This repeated behavior of

continuously and systematically calling Plaintiff’s cellular phone over and over after she

demanded that it cease contacting her was harassing and abusive. Even after being told to stop



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contacting her, Defendant continued its onslaught of phone calls with the specific goal of

oppressing and abusing Plaintiff into paying the subject debt.

   31. Furthermore, Defendant has relentlessly called Plaintiff on no less than 34 occasions

without her prior consent. The nature and frequency of the calls show that Defendant willfully

ignored Plaintiff’s pleas with the goal of annoying and harassing her into submission.

   32. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient, unwanted, and distressing to her.

       b. Violations of FDCPA §1692d

   33. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” Specifically, §1692d(5) further prohibits, “causing a

telephone to ring or engaging any person in telephone conversation repeatedly or continuously

with intent to annoy, abuse, or harass any person at the called number.”

   34. Defendant continuously called Plaintiff after being asked to stop placing calls to her

cellular phone. Defendant called Plaintiff at least 34 times after she demanded that Defendant

cease placing calls to her cellular phone. This repeated behavior of systematically calling

Plaintiff’s phone in spite of her demand was harassing and abusive. The frequency and volume

of calls shows that Defendant willfully ignored Plaintiff’s plea with the goal of annoying and

harassing her.

        c. Violations of FDCPA § 1692f

   35. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”




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    36. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff, no less than 34 times, in a short period of time after

Plaintiff demanded that the calls cease. Attempting to coerce Plaintiff into payment by placing

voluminous phone calls after being told to stop calling is unfair and unconscionable behavior.

These means employed by Defendant only served to worry and confuse Plaintiff.

    37. As such, Plaintiff has been harmed and suffered damages as a result of Defendant’s

illegal actions.

    WHEREFORE, Plaintiff, Paula Reynolds, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
       §1692k(a)(2)(A);

    c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. §1692k(a)(1);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k(a)(3); and

    e. Awarding any other relief as this Honorable Court deems just and appropriate.

          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    38. Plaintiff repeats and realleges paragraphs 1 through 37 as though fully set forth herein.

    39. The TCPA, pursuant to 47 U.S.C. §227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. §227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”



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   40. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The significant pause, lasting a handful of seconds in length, that

Plaintiff experiences during answered calls from Defendant is indicative that an ATDS is being

utilized to generate the phone calls. Additionally, the nature and frequency of Defendant’s calls

to Plaintiff’s cellular phone points to the involvement of an ATDS.

   41. Defendant violated the TCPA by placing at least 34 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Plaintiff has never had any business relationship with

Defendant nor has she given it permission to call her cellular phone. As such, Plaintiff could not

have given Defendant consent to contact her. Even if Defendant did have consent to contact

Plaintiff on her cellular phone, any such consent was explicitly revoked by virtue of Plaintiff’s

demand that Defendant cease placing calls to Plaintiff’s cellular phone.

   42. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   43. Under the TCPA, pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. §227(b)(3)(C). Defendant’s willful conduct is exemplified by its

persistent calling of Plaintiff’s cellular phone despite Plaintiff’s demand that the calls cease.

   WHEREFORE, Plaintiff, Paula Reynolds, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);



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   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.



Dated: August 15, 2018                            Respectfully submitted,


/s/ Marwan R. Daher                               /s/ Omar T. Sulaiman
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